

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-77,978-01






JIMMY D. HILL, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. W09-53582(A)IN THE 363RD DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, contends that filed an application for a writ of habeas corpus in the
District Court of County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court.  Relator alleges that the trial court entered an order designating issues
on March 12, 2012, but that the order was untimely.

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of  Dallas
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus application, submitting a copy of a timely filed order which designates issues to be
investigated (see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that
Relator has not filed an application for a writ of habeas corpus in County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response.  This application for leave to file
a writ of mandamus shall be held in abeyance until Respondent has submitted the appropriate
response.  Such response shall be submitted within 30 days of the date of this order.



Filed: July 25, 2012

Do not publish	


